          Case 1:18-cv-08468-LGS Document 168 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X
                                                              :
 ABBOTT LABORATORIES,                                         :
                                              Plaintiff,      :
                                                              :   18 Civ. 8468 (LGS)
                            -against-                         :    19 Civ. 600 (LGS)
                                                              :
 NANCY FEINBERG et al.,                                       :        ORDER
                                                              :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        The public may observe the remote bench trial in this matter, starting November 9, 2020,

at 10:00 a.m., on the following line: 855-896-8680, access code 2785840#.

Dated: November 6, 2020
       New York, New York
